il

` Case 8:18-bl<-O4647-CP|\/| Doc 17 Filed 07/03/18 Page 1 of 4

.\

Fil| in this information to identify your case:

Debtor1 N‘( \L‘~"'A \¢`q-SLHQ\O" Wq\ l\t C(,'VI\Q

First Name Middle Name Last Name \

Debrorz O.MJ’¢Ll/r . gov q QJ‘\Q \,\5`\ lite rig

(SpOUSe, if flling) First Name d Middl?‘!lame Last Name

/
United States Bankruptcy Court for the: M£g District of FZJ) 44
Case number 6'; [S” b 'L " O\{b(-/V?` C,WM

m known) ' Check if this is an
amended filing

   

 

Official Form 106D
Schedu|e D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

}

 

1. Do any creditors have claims secured by your property?
n . Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.
Yes. Fi|| in all of the information below.

 

m List All Secured Claims

Column A ’[Co/umn B ll Column C
2. List all secured claims. lf a creditor has more than one secured claim, list the creditor separately Amounl of clalrn :Value of collateral ;‘l Unsecured
for each claim. lf more than one creditor has a particular claim. list the other creditors in Part 2. Do nol deduct the ' llhat supports lhls . portlon
As much as possible, list the claims in alphabetical order according to the creditor’s name. vaer 0fcollalelal_ .c|aim l ll any

g yi\ll-\n_lak|$m((\€ Describe the property that secures the claim: $ l q ll GGO$ [q 21 6 §§ g

Creditors Name
Number Street d r` &_ mb f c` q Q,¥/Q

As of the date y%el fi|cgthe claim is: Check all that apply.

 

 

 

 

 

 

 

__ /a:>Contingent

MCY\ w C/ ( OUL!SO El unliquidated

City Siate Z|P Code n Dlspuled
Who owes the debf? Check one Nature of lien. check an that apply. _
m D€bfor 1 On|Y 1 An agreement you made (such as mortgage or secured g
a Debtor 2 only car loan)

/a> Debtor~l and Deblol 2 Only L:l Statutory lien (such as tax lien', mechanic's lien)

m At least one of the debtors and another n Judgmem lien from 3 lawsuit

n Other (inc|uding a right to offset)
l;l Check if this claim relates to a

community debt
Date debt was incurred ,z a__=__§____z _§ZZ§ (if Last 4 digits of account number g _C_> 2 _/

film - - . zl. 0 00 )
’E)V`\ Ok$\l_;€ Q/K`/S .}_M Describe the property that secures the claim. $ 60 $ Z{', 5- $ llé

Creditor‘s Name

 

 

 

 

tocer\

 

 

 

er Streel
blung 1L( l D l As of the date you file, the claim is: Check all that apply.
Contingent

M e.>q A' L §/‘SZ 09 n Unliquidated

Ciiy State ZIP Code m Dlspuled
Wh° °Wes the debt? Check One- Nature of lien. Check all that apply.
n Debtor 1 only aaa agreement you made (such as mortgage or secured
m Debtor 2 only car loan)

mabry 1 and Debtor 2 only l;l Statutory lien (such as tax lien, mechanic's lien)

l:l At least one of the debtors and another n Judgmenf lien from 3 |BWSUif

n Other (inc|uding a right to offset)
m Check if this claim relates to a

community debt
D_ate debt was incurred _1_ _Z D{F?L Last4 digits of__ account number _(9 0 / §

Add the dollar value of your entries in Column A on this page. Write that number here: }$M l

 

 

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Ochia| Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of_

U\M whom

Middla Name

Debtor l

First Name

‘ Case 8:18-bl<-O4647-CPl\/| Doc 17 Filed 07/03/18 Page 2 of 4

wlniq_l’l’l$

Last Name

Case number ti/ltndwn) 51 l& ~ bl(_ ~ OQ(OCIFI°' CpA/l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

Additional Page iiO/”m”tAf l _ i°/|um" § " t l 3°/‘”"” Cd
_ _ _ _ _ _ _ t moun o c aim a ue o co a era nsecure
After listing any entries on this page, number them beginning with 2.3, followed l DO not deduct the that supports lhls portion
by 2.4, and so forth. lva_lu§ Of§Qllaleral_ Clalln lia-my
. Describe the property that secures the claim: $ $ $
Creditofs Name
Number Street
As of the date you file, the claim is: Check all that apply.
m Contingent
city state zlP code Cl Unliquidated
C\ Disputed
WhO Owes the d€bf? Check On€~ Nature of lien, Check all that apply.
n DeblOr 1 On|y Cl An agreement you made (such as mortgage or secured
m Debtor2 only car loan)
|:| Deblorl and Deblor 2 only l:l Statutory lien (such as tax lienl mechanic's lien)
n At least one of the debtors and another m Judgmem lien from 3 lawsuit
n Other (inc|uding a right to offset)
n Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number _ _ _
__| Describe the property that secures the claim: $ $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
n Contingent
EI unliquidated
Clty State ZlP Code n Disputed
Wh° owes the debt? Check one' Nature of lien. Check all that apply.
n Debt°r 1 amy n An agreement you made (such as mortgage or secured
n Debfol' 2 On|y ear loan)
n Debtorl and D€bel’ 2 only n Statutory lien (such as tax lien, mechanic's lien)
n At least one of the debtors and another n Judgment lien from a lawsuit
El 0 h ' l ' '
l:l Check if this claim relates to a t er (mc udmg a ngmto OHSEU
community debt
Date debt was incurred Last 4 digits of account number __ _ _
| Describe the property that secures the claim: $ $ $
Creditofs Name
Number Street
As of the date you file, the claim is: Check all that apply.
m Contingent
city state zlP code |:l Unliquidated
n Disputed
WhO Owes the debt? Check One~ Nature of lien. Check all that apply.
n Deber 1 On|y n An agreement you made (such as mortgage or secured
n Debtor2 only Carloan)
E| Debtor-l and Deblor 2 Only n Statutory lien (such as tax lien, mechanic's lien)
Cl At least one et the debtors and another n Judgmenf lien from a lawsuit
. n Other (inc|uding a right to offset)
l:l Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number _ _ _
Add the dollar value of your entries in Column A on this page. Write that number here: $
lf this is the last page of your form, add the dollar value totals from all pages.
Wrimzt number here: $
` Oft'icial Form 1060 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page _ of__

l t Case 8:18-bl<-O4647-CPl\/| Doc 17 Filed 07/03/18 Page 3 of 4

Debtort N;ki.l"q’ w LUWA wi ill€t '7\ 5 Case number (irkndwn) £9" [ g l GK. Oq (a q 7b CQ`,]

First Name Middle Name Last Name

m List others to se Notined for a oebt 'rhat vou Aiready Listed

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Fart1, list the additional creditors here. lf you do not have additional persons to
be notified for any debts in Part1, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

:\ On which line in Part1 did you enter the creditor?
Name Last 4 digits of account number _ _ __
Number Street
Clty State ZlP Code

:\ On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number__ _ __
Number Street
Clty State ZlP Code

:| On which line in Part1 did you enter the creditor?
Name Last 4 digits of account number__ _ _ __

l
Number Street
Clty State ZlP Code

:l On which line in Part1 did you enter the creditor?
Name Last 4 digits of account number __ _ __
Number Street
City State ZlP Code

:| On which line in Part1 did you enter the creditor?
Name Last 4 digits of account number __ _ __
Number Street
Clty State ZlP Code

:| On which line ir\ Part1 did you enter the creditor?
Name Last 4 digits of account number __ _ _
Number Street

l

l

‘\ City State ZlP Code

 

Oft`lcial Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page _ of__

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_ '* CaS€ 8218-bk-O4647-CP|\/| DOC 17 Filed 07/03/18 Page 4 014

Fill iri this information to identify your case:

Debtor 1 _N' \ \ 8

list Name Mlddle Name Last Name
,-

Debtor 2 6 \Aji i l t

(SpOUSe, li fl|lng) irst Name Mldd| me Lest Name

United States Bankruptcy Court for the: M&istrlct of pt of ¢D`Q
Case number &.' \ 3 l b`L/’ U(qu_ CpM

(|f known)

 

U/Check if this is an

 

 

amended filing

Official Form 106Dec
Declaration About an individual Debtor’s Schedules rails

 

 

lf two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud ln connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
yearsl or hoth. 18 U.S.C. §§ 152, 1341 , 1519, and 3571.

Dld you pay or agree to pay someone who is NOT an attorney to help you till out bankruptcy forms?

No .
- n Yes. Name of person .Attach Bankruptcy Pelition Preparer's Notice, Declaration, and
Signature (thcial Form 1 19).

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

x~/td/>

Signature o ebtor 1\

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_ _____ ._.._,”_..__ ___ .___.,_ _ _____ _._l

 

 

 

 

Official Form 1OGDec Declaration About an individual Debtor’s Schedules

